                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF WISCONSIN


CLIFFS MINING COMPANY                         )
                                              )
                       Plaintiff,             ) Case No. 2:18-cv-00581-WED
                                              )
         v.                                   ) Magistrate Judge Duffin
                                              )
WISCONSIN ELECTRIC                            )
POWER COMPANY and                             )
WISCONSIN GAS LLC,                            )
                                              )
                       Defendants.            )


                DISMISSAL PURSUANT TO RULE 41(a)(1)(A)(ii)


               The Parties hereby stipulate that all claims in this action shall be dismissed

without prejudice with each party to bear its own attorneys’ fees and costs.

         SO STIPULATED:




56929484v.1
         Case 2:18-cv-00581-WED         Filed 05/16/19      Page 1 of 3        Document 32
DATED: May 16, 2019
                                             By: s/ Louis S. Chronowski


                                             Attorneys for CLIFFS MINING COMPANY


Andrew H. Perellis
aperellis@seyfarth.com
Louis S. Chronowski
lchronowski@seyfarth.com
Patrick D. Joyce
pjoyce@seyfarth.com
Seyfarth Shaw LLP
233 S. Wacker Drive, Suite 8000
Chicago, IL 60606
(312) 460-5000



                                               By: s/ Joseph A. Cancila   ______

                                               Attorneys for WISCONSIN ELECTRIC
                                               POWER COMPANY and WISCONSIN
                                               GAS LLC

Joseph A. Cancila
jcancila@rshc-law.com
Sondra Hemeryck
shemeryck@rshc-law.com
Deborah Bone
dbone@rshc-law.com
RILEY SAFER HOLMES & CANCILA LLP
70 West Madison Street, Suite 2900
Chicago, Illinois 60602




                                         2
56929484v.1
         Case 2:18-cv-00581-WED   Filed 05/16/19     Page 2 of 3     Document 32
                               CERTIFICATE OF SERVICE

        The undersigned attorney certifies that a copy of this document was served on all counsel
of record via the Court’s ECF system on this 16th day of May 2019.




                                            /s/ Louis S. Chronowski
                                            Louis S. Chronowski




                                               3
56929484v.1
         Case 2:18-cv-00581-WED        Filed 05/16/19     Page 3 of 3      Document 32
